             MINUTES OF THE UNITED STATES DISTRICT COURT
                          DISTRICT OF ALASKA
U.S.A. vs.         NOBUYA MICHAEL OCHINERO     CASE NO. 3:14-cr-00014-SLG
Defendant:         X Present X In Custody
BEFORE THE HONORABLE:                 SHARON L. GLEASON
DEPUTY CLERK/RECORDER:                NANCY LEALAISALANOA
OFFICIAL REPORTER:                    NOT PRESENT
UNITED STATES’ ATTORNEY:              STEPHANIE CAROWAN COURTER
DEFENDANT’S ATTORNEY:                 JAMIE McGRADY - APPOINTED
U.S.P.O.:                             CHRIS LIEDIKE/TIM ASTLE
PROCEEDINGS: STATUS CONFERENCE/INITIAL APPEARANCE ON SUPERSEDING
            PETITION TO REVOKE SUPERVISED RELEASE (DKT 58)
             HELD SEPTEMBER 5, 2014:
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
At 9:14 a.m. court convened.
 X Copy of Superseding Petition to Revoke Supervised Release (DKT
58) given to defendant: read.
 X Defendant advised of general rights.

 X Financial Affidavit FILED.
 X Federal Public Defender accepted appointment; FPD notified.
 X Defendant DENIED allegations   1-4 of the Superseding Petition
to Revoke Supervised Release (DKT 58).
 X Matter to be referred to U.S. District Judge for an
Evidentiary Hearing.
 X Detention Hearing to be set as soon as resolution complete of
State of Alaska case.
 X Order of Temporary Detention Pending Hearing FILED.
 X OTHER: Court and counsel heard re government’s oral motion to
hold petition in abeyance pending resolution of State of Alaska
case; GRANTED. Officer Liedike to obtain a written diagnosis from
Anchorage Community Mental Health re the defendant as soon as
possible.
Court ordered Restitution $116,681.97 to be paid as stated in the
Amended Judgment.
At 9:46 a.m. court adjourned.
DATE:             September 5, 2014      DEPUTY CLERK'S INITIALS:             NXL


Revised 5-29-14


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